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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE
COMMISSION, Civil Case No.
Plaintiff, Complaint
v.
PREMIER HOLDING CORPORATION, Jury Trial Demanded
RANDALL LETCAVAGE, and
JOSEPH GREENBLATT,
Defendants.

 

 

Plaintiff Securities and Exchange Commission (the “Commission”), for its Complaint
against Defendants Premier Holding Corporation (“Premier” or “the Company”), Randall
Letcavage (“Letcavage”), and Joseph Greenblatt (“Greenblatt”) (collectively, “Defendants”),
alleges as follows:

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l. This case arises out of a fraudulent scheme by microcap issuer Premier, at the

direction of the Company’s Chief Executive Off`lcer (“CEO”) Letcavage, to mislead investors about

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Premier’s success and prospects, hide Premier’s losses, inflate its assets and artificially prop up its
stock price.

2. Premier and Letcavage wove an illusory web of economic activity and
purportedly important transactions designed to create the appearance of` an active company with
a vibrant business Thus, they orchestrated various deals while misrepresenting the value or
significance of those transactions to the Company. These transactions provided fodder for
Premier and Letcavage to mislead investors about the financial health of the Company, and created
opportunities for obfuscation and fraud in the Company’s financial statements

3. In addition to devising a series of transactions with related parties with little to no
economic substance, Defendants used an unsecured promissory note with a $5 million face value
(the “Note”) to which the Def`endants assigned a value which they knew, recklessly disregarded, or
should have known was incorrect. At all relevant times, based on the Company’s valuation, the
Note was Premier’s most significant tangible asset. Premier and Letcavage misled investors about
the value of this Note, among other things, in filings with the Commission, press releases and a
shareholder letter. Greenblatt, a formerly licensed certified public accountant (“CPA”), assisted
Premier by preparing certain of its fraudulent financial statements which included a valuation of the
Note that he knew, recklessly disregarded, or should have known was inadequately supported

VlOLATIONS

4. Through the conduct alleged herein, Premier is liable for violating Section l7(a)
of the Securities Act of 1933 (“Securities Act”) [15 U.S.C. § 77q(a)], Section lO(b) of the
Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

thereunder [l7 C.F.R. § 240.]Ob-5], and Sections l3(a), 13(b)(2)(A), and l3(b)(2)(B) of the

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Exchange Act [15 U.S.C. §§ 78m(a), 78m(b)(2)(A), and 78m(b)(2)(B)] and Rules l3a-l, 13a-l l,
and l3a-l3 thereunder [l7 C.F.R. §§ 240.l3a-l, 240.l3a-l l, and 240.l3a-l3].

5. Through the conduct alleged herein, Letcavage is liable (i) for violating Section
l7(a) of the Securities Act [15 U.S.C. § 77q(a)], Section lO(b) of the Exchange Act [15 U.S.C.

§ 78j(b)] and Rule 10b-5 thereunder [l7 C.F.R. § 240.10b-5], Sections 13(a) and l3(b)(5) of the
Exchange Act [15 U.S.C. §§ 78m(a) and 78m(b)(5)] and Rules 13a-14 and l3b2-l thereunder
[l7 C.F.R. §§ 240.l3a-l4, 240.13b2-l]; (ii) as a control person under Section 20(a) ofthe
Exchange Act [15 U.S.C. § 78t(a)] for Premier’s violations of the Exchange Act described in
paragraph 4 above; (iii) as an aider and abettor under Section 20(e) of the Exchange Act [15
U.S.C. 78t(e)] and Section 15(b) of the Securities Act [15 U.S.C. § 780(b)] for Premier’s
violations of Sections l7(a)(2) and l7(a)(3) of the Securities Act [15 U.S.C. § 77q(a)(2) and (3)],
and Sections l3(a), l3(b)(2)(A), and l3(b)(2)(B) of the Exchange Act [15 U.S.C. §§ 78m(a),
78m(b)(2)(A), and 78m(b)(2)(B)] and Rules l3a-l, 13a-l l, and 13a-13 thereunder [l7 C.F.R. §§
240.l3a-l, 240.13a-l 1, and 240.13a-l3].

6. Through the conduct alleged herein, Greenblatt is liable (i) for violating Section
l3(b)(5) of the Exchange Act [15 U.S.C. § 78m(b)(5)] and Rule l3b2-l thereunder [l7 C.F.R. §
240.l3b2-l], and (ii) as an aider and abettor under Section 20(e) of the Exchange Act [15
U.S.C. 78t(e)] and Section 15(b) of the Securities Act [15 U.S.C. § 780(b)] for Premier’s
violations of Sections l7(a)(2) and l7(a)(3) of the Securities Act [15 U.S.C. § 77q(a)(2) and (3)],
Sections l3(a), l3(b)(2)(A), and l3(b)(2)(B) of the Exchange Act, [15 U.S.C. § 78m(a),
78m(b)(2)(A), and 78m(b)(2)(B)] and Rules l3a-l, l3a-11, and 13a-13 thereunder [l7 C.F.R. §§

240.l3a-l, 240.l3a-l l, and 240.l3a-l3].

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JURISDICTION AND VENUE

7. The Commission brings this action pursuant to authority conferred by Section
20(b) of the Securities Act [15 U.S.C. § 77t(b)] and 21(d)(l) of the Exchange Act [15 U.S.C.
§ 78u(d)(1)], and seeks to restrain and permanently enjoin Defendants from engaging in the acts,
practices, transactions, and courses of business alleged herein. The Commission also seeks a
final judgment ordering Defendants to: (i) disgorge their ill-gotten gains, together with
prejudgment interest thereon; and (2) pay civil monetary penalties, pursuant to Section 20(d) of
the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. §
78u(d)(3)]. In addition, as to Letcavage, the Commission also seeks a final judgment ordering an
officer and director bar and a penny stock bar pursuant to Section 20(g) of the Securities Act [15
U.S.C. § 77t(g)] and 2l(d)(6) of the Exchange Act [15 U.S.C. § 78u(d)(6)]. Finally, the
Commission seeks any other relief the Court may deem just and appropriate

8. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, Sections
20(b) and 22(a) of the Secu;rities Act [15 U.S.C. §§ 77t(b) and 77v(a)] and Sections 21(d), 21 (e),
and 27 of the Exchange Act [15 U.S.C. §§ 78u(d), 78u(e), and 78aa].

9. Venue is proper in this District pursuant to Section 22(a) of the Securities Act [15
U.S.C. § 77v(a)] and Section 27 of the Exchange Act [15 U.S.C. § 78aa] because acts and
transactions constituting violations alleged in this Compliant occurred within the Southem
District of New York. For example, several investors in the Company’s private placement of
securities resided in the District during the relevant timeframe.

10. In connection with the conduct alleged in this Complaint, Defendants, directly or
indirectly, made use of the means or instrumentalities of transportation or communication in, and

the means or instrumentalities of, interstate commerce.

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DEFENDANTS

l 1. Premier is a Nevada corporation with its principal place of business in Tustin,
Califomia. At all relevant times, Premier described itself as a provider of a large array of energy
services through its subsidiary companies. Premier’s common stock is registered with the
Commission pursuant to Exchange Act Section l2(g) and is quoted on the OTC Link, operated
by OTC l\/Iarkets Group, Inc. and formerly known as the Pink Sheets. The Company files
periodic reports, including Forms lO-K and lO-Q, with the Commission pursuant to Exchange
‘ Act Section 13(a) and related rules thereunder.

12. Letcavage, age 58, is a resident of lrvine, California. Since October 5, 2012, he
has been the Chairman, President, CEO, and Chief Financial Officer (“CFO”) of Premier. F rom
at least January 2012 to January 2013, he also served as a “strategic consultant” to the Company

13. Greenblatt, age 67, resides in Tustin, California. From 1972 to 2000, he was a
CPA licensed to practice in California. From early 2013 until approximately October 2013,
Greenblatt provided accounting services to Premier on a consulting basis, through his company
G&R Financial Partners, preparing Premier’s financial statement for fiscal year (“FY”) 2012 and
the first two quarters of FY 2013. He also served as management’s liaison to Premier’s auditors.

OTHER RELEVANT PARTIES

14. Anton & Chia, LLP (“Audit Firm”) is an accounting and auditing firm
headquartered in Newport Beach, Califomia, with offices elsewhere in Califomia and, under the
name Anton, Bryson & Schindler CPAs, LLP, in Vancouver, Canada.

15. Individual A, age 61, resides in Laguna Hills, California. As discussed below, he

is affiliated with several entities related to this action. He also served as a consultant to Premier

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from at least January 2012 to at least January 2013, and as a director for approximately two
weeks in October 2012.

16. Individual B, age 53, resides in Orange County, California. He was the President
and CEO of Premier from April 2012 to October 2012

17. The Power Company USA, LLC (“TPC”), was, at all relevant times, a privately-
held deregulated power broker based in Chicago, Illinois. On February 28, 2013, Premier
purchased an 80% stake in TPC.

18. Valuation Firm is a consulting firm that provides valuations, restructuring,
merger and acquisition services, SEC compliance services, interim management, and investor
relations research for corporate clients. As discussed below, Premier engaged Valuation Firm to
purportedly value the Note and other assets.

19. WePower Ecolutions, lnc. (“WePower Ecolutions”) was a wholly-owned
subsidiary of Premier formed in November 2011 for the purported purpose of “offer[ing]
renewable energy production and energy efficiency products and services.” On February 26,
2013, WePower Ecolutions’ name was changed to Energy Efficiency Experts.

20. WePower Eco Corp. (“New Eco”), a Delaware corporation, was created in late
2012 purportedly to “offer[] renewable energy production and energy efficiency products and
services to commercial middle market companies.” The company is run by Individual B and
located in Aliso Viejo, California.

21 . WePower, LLC is a Delaware LLC incorporated in 2008. Individual A was the

founder and served as its Chairman and CEO.

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D_CLS

22. At all relevant times, Letcavage controlled Premier and promoted the Company in
filings and other statements with little concern for the accuracy of, or basis for, his
representations As discussed below, Letcavage’s scheme involved causing Premier to enter into
transactions on terms which he knew or should have known had little economic substance and
which served to mislead investors as to Premier’s vitality and business prospects

23. Letcavage was responsible for all the public statements by Premier discussed
herein, including all of Premier’s filings, which he signed both as principal financial officer or
CFO and as CEO.

24. Greenblatt prepared Premier’s financial statements for the 2012 fiscal year and
the first two quarters of 2013, He also served as Premier’s primary contact with the Audit Firm
in connection with the audit of the FY 2012 financial statements and the Audit Firrn’s reviews of
the Company’s financial statements for the first two quarters of FY 2013.

25. According to the agreement between Premier and Greenblatt’s company, dated
January 16, 2013, the services to be provided by Greenberg’s company included, “to advise
[Premier] on all financial and accounting activities associated with a public company and to
represent [Premier] in . . . prospective acquisitions, . . . and perform the duties that would
normally be associated with a chief financial officer.”

The December 2011 Related-Party Transaction: Letcavage Takes
Control of Premier and Causes the Company to Buy Purported Assets
from Companies He and Individual A Controlled

26. In December 201 1, Letcavage and a friend, lndividual A, acquired a majority of
Premier’s outstanding shares, paying $l75,000 in cash to the Company’s then-CEO and majority

shareholder. Prior to that time, Premier was purportedly in the business of selling low~priced

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caskets. Letcavage and Individual A then caused Premier to acquire certain assets from two
purported green energy companies controlled and owned, entirely or in large part, by either
Letcavage (Green Central Holdings Inc.) or lndividual A (WePower, LLC) in exchange for more
than 30 million restricted shares of Premier stock (the “December 201 1 Related~Party
Transaction”).

27. Using these assets (the “Related-Party Assets”), and through a new wholly-owned
subsidiary, WePower Ecolutions, Premier’s business changed to providing clean energy products
and services Letcavage and Individual A installed Individual B as CEO of WePower Ecolutions
and as president and CEO of Premier.

28. Although Premier issued a total of 30 million shares to WePower, LLC and Green
Central Holdings Inc. in exchange for the Related-Party Assets, the Company never conducted
any due diligence or obtained any independent valuation of the assets before entering into this
transaction. Ultimately, in Premier’s 2011 Form lO-K, filed a few months after this transaction,
the Company valued the Related-Party Assets at zero.

The January 2013 Money-Losing-Operations-for-Note Swap
and Creation of the “$5 Million Note”

29. Premier’s performance following the business change remained poor and its stock
price plummeted throughout 2012.

30. On or about October 5, 2012, Letcavage and Individual A arranged a management
shake-up in which Letcavage became a director of Premier as well as CEO, president, treasurer,
and principal accounting officer. Company filings thereafter also referred to Letcavage on
occasion as CFO, principal executive officer and principal accounting officer.

31. Recognizing that Premier would have to report a substantial loss for FY 2012, and

that a large portion of the loss would be attributable to the operations of subsidiary WePower

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Ecolutions, Letcavage orchestrated a series of transactions to create the appearance that Premier
had profits that essentially offset these losses

32. As part of this scheme, on January 7, 2013, Premier effectively sold certain money-
losing operations of WePower Ecolutions to newly-formed New Eco, to be run by Individual B,
who also agreed to resign from the Company.

33. In exchange, New Eco gave Premier the Note, and purportedly assumed certain
Premier liabilities (the “January 2013 Money~Losing-Operations-for-Note Swap”).

34. Neither the face amount nor the terms of the Note were based on any due diligence
or a valuation, independent or otherwise, of the assets transferred to New Eco. The terms of the
Note were also extremely favorable to New Eco.

35. Letcavage also knew or should have known that there was little, if any, possibility
that New Eco would pay. To the contrary, Letcavage knew or should have known that the Note
was essentially worthless Indeed, in an October 3, 2012 email to Individual A, Letcavage
confided, “I believe the [WePower Ecolutions] spinoff will result in nothing to our investors.”

36. Despite Letcavage’s knowledge or reckless disregard that the Note would have
little, if any, value, he began to tout the Note as early as December 2012 - even before the
transaction was final - as a sign of the Company’s imminent turn-around. For example, on
December 5, 2012, Premier announced, “[Premier] has reached an agreement in principle to sell
certain assets to WePOWER Eco Corp., a newly formed entity, controlled by [Individual B]...
for a $5,000,000 promissory note.”

37. Further, in a December 27, 2012 letter to shareholders, Letcavage declared, as

part of the Company’s plan to “fast-track [the] turnaround” he had initiated since taking over,

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that he expected that Premier “could add more than $13,000,000 in assets” of which $5 million
in “assets” was attributable to the Note.
Defendants “Transform” a Loss Into a Gain

38. After the deal closed, Premier repeatedly and inaccurately reported, in filings with
the Commission, that the Note had a value of $869,000. Although this valuation was
inconsistent with Generally Accepted Accounting Principles (“GAAP”), Defendants used the
$869,000 number to enable Premier to mislead investors about the success of its operations

39. In its audited financial statements for the fiscal year ended December 31, 2012,
filed on Form lO-K on April 22, 2013, prepared by Greenblatt and signed by Letcavage as CEO
and principal financial officer, Premier reported a net loss of over $2 million, of which
approximately 35% was reported as a loss from the operations of WePower Ecolutions.

40. The 2012 Form lO-K also reported the January 2013 Money-Losing-Operations-
for-Note Swap, as a subsequent event, falsely reporting that the Note, received by Premier in this
transaction, had a “preliminary valuation” of $869,000.

41. The filing also falsely stated that the We Power Ecolutions assets being sold to
New Eco “have been conservativer valued at approximately $869,000.”

42. On March 28, 2013, Greenblatt emailed a friend, “[C]urrently I'm trying to get the
note appraised so that our 10K for 2012 shows at least a break even on [the WePower] venture.”

43. On May 22, 2013, a week before Premier’s Form lO-Q for the first quarter of
2013 was filed, Greenblatt texted Letcavage, reporting: “[Greenblatt’s associate] just talked to
the auditors and they apparently are buying the 869000 valuation.”

44. Through this contrivance - reporting that Premier had obtained a Note valued at

$869,000 along with the purported elimination of debt in the January 2013 Money-Losing-

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Operations-for-Note Swap -the Form lO-Q for the first quarter of FY 2013 falsely reported net
quarterly income of $466,147, instead of reporting a loss

45. Not only were the same inflated balance sheet and income statement numbers
repeated in Premier’s second- and third-quarter financial statements and its audited FY 2013
financial statements Premier also failed to evaluate the Note for impairment as required by
GAAP. In each instance, the purported $869,000 value of the Note was Premier’s largest
tangible asset, constituting at least 12% of the company’s total assets

46. The misleading valuation of the Note ultimately resulted in the overstatement of
the Company’s income for FY 2013 by almost $1,000,000 and by at least 12.5% in each quarter
of FY 2013,

47. Contrary to the Defendants’ representations about the value of the Note in
Commission filings, internally the Def`endants treated the Note as worthless For example,
Premier never attempted to collect on the Note or to properly account for the Note on its books
Disingenuous Origin of the $869,000 Valuation

48. The $869,000 figure was the largest of three figures that appeared on Excel
spreadsheets provided to Premier by a Valuation Firm retained by Premier for the pmported
purpose of valuing the Note. These spreadsheets, which Premier later characterized as a
“preliminary valuation,” simply illustrated the Valuation Firm’s valuation models, as applied to
unsupported revenue projections for New Eco.

49. The Valuation Firm sought updated revenue projections and support for such
projections from New Eco, and sought Premier’s help in getting such information. The
Valuation F irm needed to value New Eco (the borrower) because the collectability of the Note

was dependent on the borrower’s ability to pay as the Note was unsecured and not guaranteed

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However, New Eco never provided the requested information nor did Premier assist the
Valuation F irm in obtaining the needed information.

50. Indeed, the principal of the Valuation Firm reached out to Premier management
repeatedly in Spring 2013 to emphasize the importance of verifying the assumptions used in the
spreadsheets and obtain supporting documentation, and cautioned that absent such information
any fair value figure shown on the spreadsheets could not be relied upon. Premier ignored this
waming.

51. In a March 29, 2013 email, the principal of the Valuation F irm asked an officer of
Premier to call him to discuss “the projections and What support exists relative to the revenues.”`
He specifically cautioned the Premier officer in this email about relying on the spreadsheets,
explicitly warning him: “This preliminary valuation is not to be quoted at this time.”

52. On April 24, 2013, having received no response from Premier, the principal of the
Valuation Firm emailed the officer again, as well as Greenblatt and Greenblatt’s partner, stating,
“As detailed in the [March 29‘h] e-mail below, there were several issues related to the . . . Note
valuation. Before we issue a report, we would like some input on the assumptions . . ”

53. Consequently, Letcavage and Greenblatt knew or should have known that the
Valuation Firm was seeking information in order to value the Note. They knew or should have
known that the Valuation Firm could not complete its analysis or provide a reliable valuation of
the Note without the information sought.

54. Nevertheless, Letcavage repeated the misleading Note valuation in a May 30,
2013 earnings release, trumpeting the Company’s “dramatic” turnaround, boasting that the
January 2013 Money~Losing-Operations-for-Note Swap had made the Company profitable:

[Premier] announced today that its turnaround is dramatic and the
company is able to provide positive results and a status report to

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shareholders that demonstrates Premier’s path to building the company,
*** Premier also picked up $869,000 [ ] in revenue from the disposition of
the assets [which] produced net income of $466,147 [ ] in the most
recent quarter, certainly a vast improvement from Ql 2012 which showed
a net loss of$452,330 . . .

***

['l`he quarterly results] “demonstrate results from the new management led
by Letcavage, who took control of the company in October of 2012.”

55. The Valuation F irm ultimately valued the Note at zero, in a draft valuation report

dated April 9, 2014. The report stated that “the fair market value of the Note as of [January 7,

2013] is reasonably represented as $0, based on the following:” (Emphasis in original.)

The Note is unsecured and secondary to all secured debt obtained by
the Borrower.

The Note is for 20 years with no principal payment for 5 years The
interest rate is significantly below market at 2% with interest payments
deferred until ll months after issuance.

The Note was issued by a start-up company (incorporated in late 2012)
with no known assets other than those obtained [in the transaction with
Premier].

The Note was issued by a company with no known revenues

The Note was issued by a company with undisclosed and unknown
quantity of secured and unsecured liabilities

The Assets transferred generated no revenue for [Premier] in 2012.

The Assets transferred were operated by the Borrower in 2011 and
generated a net loss in excess of $750,000.

The Borrower refused to provide any information regarding its
financial status

The February 2013 TPC Transaction

56. On February 28, 2013, Premier acquired an 80% interest in TPC, a privately-held

deregulated power broker, along with an option to purchase the remaining 20% interest within

120 days, in exchange for 30 million shares of Premier common stock (the “TPC Transaction”).

57. While Premier apparently acquired some actual assets (contracts to provide

customers with energy) in the TPC 'I`ransaction, Premier’s public statements about those assets

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were misleading and inconsistent For example, Premier and Letcavage (and Greenblatt, for the
first quarter 2013 Form lO-Q) showed little concern for providing a coherent or reliable
description of the transaction to investors For example, with respect to the number of customers
or clients TPC had at the time of the transaction, Premier stated:

0 TPC had “over 12,000 residential and commercial customers.” (Forrn lO-Q
for the first quarter of2013, filed May 30, 2013);

o “On the date of acquisition, TPC had over 14,000 clients . . .” ( 2013 Form 10-
K, filed April 15, 2014);

v “On the date of acquisition, TPC had a tremendous number of clients.”
(Emphasis added.) (2014 Form lO-K, filed April 15, 2015);

» “By the end of the first quarter of 2013, TPC had over 11,000 clients . . .”
(2016 Form lO-K, filed on April 14, 2016).

58. Premier was again more interested in generating positive news for the Company
than in providing accurate inforrnation. Thus, in the May 30, 2013 earnings release trumpeting
Premier’s “dramatic turnaround,” in which the Company announced positive results for the
quarter and trumpeted the Company’s turnaround, Premier also falsely stated that there was a
“preliminary” valuation of $4,500,000 of some of the contracts Premier had acquired in the TPC
Transaction.

Premier Improperly Accounted for Its TPC Stake

59. In its financial statements for the first three quarters of 201 3 and its audited FY
2013 financial statements, Premier valued its interest in TPC at $4.5 million -the purported
value of the 30 million shares issued to the sellers as consideration for the acquisition - and
allocated the entire amount to goodwill, which then constituted a majority of Premier's assets

60. ln its financial statements the Company explained that it had allocated the $4.5
million amount to goodwill because an independent valuation of the identifiable assets and

liabilities it had acquired was “still in process.” Premier did not disclose that it was actually

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preventing the Valuation F irm from completing its work by failing to provide the firm with the
needed information

61. Premier’s accounting for its stake in TPC did not conform to GAAP in several
respects First, according to ASC 805, Business Combinations, before recognizing goodwill
from an acquisition, all identifiable assets and liabilities acquired (including identifiable
intangible assets) must be assigned a portion of the purchase price based on their fair value.
Only after this valuation of, and allocation to, identifiable assets is performed can the remaining
unallocated purchase price be recorded as goodwill.

62. If, as the company represented in public statements around the time of the TPC
Transaction, Premier had acquired certain customer contracts and receivables that purportedly
had value, in order to comply with GAAP the company should have assigned a portion of the
purported purchase price to such assets

63. Second, after recording the $4.5 million in goodwill for its stake in TPC, Premier
later failed to adequately assess that goodwill for impairment, in accordance with ASC 350-20,
Goodwill, Subsequent Measurement. For example, Premier determined, incorrectly, that as of
December 31, 2013, the $4.5 million of goodwill attributable to its TPC stake - which
constituted approximately 99% of its goodwill and 65% of its total assets reported as of
December 31 , 2013 - was not impaired. It was not until the fourth quarter of 2014 that Premier
recognized any impairment to its TPC-related goodwill.

The February 2014 Note-for-Stock Swap

64. The first payment on the Note - an interest payment of $50,000 ~ was due on

December 7, 2013, The Company made no effort to collect on the Note and New Eco failed to

make the payment.

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65. The Note went into default on December 22, 2013,

66. Without assessing the Note for impairment or collectability, Premier continued to
report the Note as an asset valued at $869,000 on its December 31, 2013 balance sheet.

67. When the Audit Firm requested Premier’s assistance in obtaining a valuation
report reflecting the Valuation Firm’s completed analysis of the Note, for the purposes of
auditing management’s valuation of the Note, Letcavage refused to provide any further
information. Instead Letcavage devised a further transaction with Individual A; and on or about
February 27, 2014, Premier “sold” the Note to WePower LLC (Individual A’s company) in
exchange for the return of 2.5 million shares of Premier common stock held by WePower LLC
(the “February 2014 Note-for-Stock Swap”).

68. Like the December 2011 Related-Party Transaction, the January 2013 Money-
Losing-Operations-for-Note Swap and the TPC Transaction in February 2013, the February 2014
Note-for-Stock Swap was not based on any meaningful appraisal of the relevant assets and no
cash changed hands

69. While Premier disclosed the February 2014 Note-for-Stock Swap as a subsequent
event in its 2013 financial statements, it failed to disclose that the Note was in default.

70. Ultimately, the transaction amounted to little more than another contrivance to
obscure Premier’s true financial condition, including its poor results for 2013, and to create a
misleading impression of commercial vitality.

Premier’s Failure to Make Required Disclosures About Letcavage’s “Perks”
71. Public companies are legally required to make detailed disclosures about the

compensation paid to certain executive officers, including CEO’s like Letcavage. 'I`his includes

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disclosure about perks - i.e., benefits with a direct or indirect benefit that has a personal aspect,
as opposed to benefits integrally and directly related to the performance of an executive’s duties

72. Letcavage received over $277,000 in salary and consulting fees from Premier in
2013, as well as certain other payments that were disclosed. According to Premier’s 2013 Form
lO-K, Letcavage (directly or through related entities) was paid $240,000 as compensation for his
role as our CEO and CFO, and $37,500 for consulting, for a total of $277,500, and $661,319 for
contract labor, including payments to Nexalin Technology (“Nexalin”) specifically for the direct
costs related to independent contractors performing sales lead generation. In addition, the
Company also paid $28,787 to iCapital Advisory for consulting services received during the year
2013, Mr. Letcavage is president and shareholder of iCapital Advisory. Nexalin is owned by
Letcavage.

73. In addition to these substantial fees, throughout 2013, Letcavage received, at
Premier’s expense, extensive “perks” that were not properly disclosed. These included funds for
private airfare and hotel stays restaurants and other forms of entertainment, clothing, beauty and
spa-related activities personal car expenses and other similar costs which should have been
disclosed as perks

FIRST CLAIM FOR RELIEF
Violations of Section 10(b) of the Exchange Act and Exchange Act Rule 10b-5
(Premier and Letcavage)

74. The Commission realleges and incorporates by reference each and every
allegation contained in paragraphs l through 73, above, as though fully set forth herein.

75. Between December 5, 2012 and at least April 15, 2014, these defendants directly
or indirectly, by use of the means or instruments of interstate commerce, or of the mails, or the

facility of a national securities exchange, in connection with the purchase or sale of securities

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and with knowledge or recklessness (a) employed devices schemes or artifices to defraud;

(b) made untrue statements of material fact or omitted to state material facts necessary to make
the statements made, in light of the circumstances under which they were made, not misleading;
and/or (c) engaged in acts practices or courses of business which operated or would operate as a
fraud or deceit upon any person.

76. By reason of the foregoing, Premier and Letcavage, singly or in concert, directly
or indirectly, have violated, and unless enjoined will again violate, Section 10(b) of the
Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [l7 C.F.R. § 240.10b-5].

SECOND CLAIM FOR RELIEF
Violations of Section l7(a) of the Securities Act
(Premier and Letcavage)

77. The Commission realleges and incorporates by reference each and every
allegation contained in paragraphs l through 73, above, as though fully set forth herein.

78. Between December 5, 2012 and at least April 15, 2014, defendants Premier and
Letcavage, directly or indirectly, by use of the means or instruments of interstate commerce, or
of the mails or the facility of a national securities exchange, in connection with the offer or sale
of securities and with knowledge or recklessness (a) employed devices schemes or artifices to
defraud; (b) obtained money or property by means of untrue statements of material fact, or has
omitted, and is omitting, to state material facts necessary in order to make statements made, in
light of the circumstances under which they were made, not misleading; and (c) engaged in
transactions practices or courses of business which operated or would operate as a deceit upon
any person.

79. By reason of the foregoing, defendants Premier and Letcavage violated Section

l7(a) of the Securities Act [15 U.S.C. § 77q(a)].

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THIRD CLAIM FOR RELIEF
Violation of Sections l3(b)(2)(A) and 13(b)(2)(B) of the Exchange Act
(Premier)

80. The Commission realleges and incorporates by reference each and every
allegation contained in paragraphs 1 through 73, above, as though fi.rlly set forth herein.

81. Between December 5, 2012 and at least April 15, 2014, Premier violated Section
13(b)(2)(A) of the Exchange Act by failing to make and keep books records and accounts
which, in reasonable detail, accurately and fairly reflected the transactions and dispositions of its
assets

82. Moreover, Premier lacked a system of internal accounting controls sufficient to
provide reasonable assurance that, among other things transactions were recorded as necessary
to permit the preparation of financial statements in conformity with GAAP, and thereby directly
violated Section 13(b)(2)(B) of the Exchange Act.

83. By reason of the foregoing, Premier violated, and unless enjoined will continue to
violate, Sections 13(b)(2)(A) and 13(b)(2)(B) of the Exchange Act [15 U.S.C. §§ 78m(b)(2)(A)
and 78m(b)(2)(B)].

FOURTH CLAIM FOR RELIEF
Violations of Section 13(a) of the Exchange Act and Exchange Act Rules 13a-1,
13a-ll, and 13a-13
(Premier)

84. The Commission realleges and incorporates by reference each and every
allegation contained in paragraphs 1 through 73, above, as though fully set forth herein.

85. Between December 5, 2012 and at least April 15, 2014, defendant Premier
violated, and unless enjoined will continue to violate, Section 13(a) of the Exchange Act [15

U.S.C. § 78m(a)] and Rules 13a-1 and 13a-13 thereunder [l7 C.F.R. §§ 240.13a-1 and 240.13a-

13], by filing annual reports and quarterly reports that contained financial statements that

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contained material misstatements as described above,

86. Between December 5, 2012 and at least April 15, 2014, defendant Premier also
violated, and unless enjoined will continue to violate, Section 13(a) of the Exchange Act [15
U.S.C. § 78m(a)] and Rule 13a-11 thereunder [l7 C.F.R. § 240.13a-11], by failing to timely file

accurate current reports on Form 8-K.

 

FIFTH CLAIM FOR RELIEF
Violation of Section 13(a) of the Exchange Act and Exchange Act Rule 133-14
(Letcavage)
87. The Commission realleges and incorporates by reference each and every

allegation contained in paragraphs 1 through 73, above, as though fi.rlly set forth herein.

88. Exchange Act Rule l3a~ 14 mandates that an issuer’s principal executive officer
and principal financial officer certify to the best of his or her knowledge that there are no untrue
statements of material fact or omissions of material fact in the periodic reports

89. By reason of the foregoing, Letcavage violated, and unless enjoined will continue
to violate, Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rule 13a-14 thereunder
[l7 C.F.R. § 240.13a-14], by knowingly making untrue statements in Premier’s periodic reports
filed with the Commission.

SIXTH CLAIM FOR RELIEF
Violation of Section 13(b)(5) of the Exchange Act and Exchange Act Rule l3b2-l
(Letcavage and Greenblatt)

90. The Commission realleges and incorporates by reference each and every

allegation contained in paragraphs l through 73, above, as though fully set forth herein.

91. In 2012 and 2013, while acting as officers and/or directors of Premier, defendants

Letcavage and Greenblatt, based upon the facts set forth above, violated Section 13(b)(5) of the

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Exchange Act when they knowingly circumvented or knowingly failed to implement a system of
internal accounting controls and knowingly falsified the books records or accounts of Premier.

92. By reason of the foregoing, Letcavage and Greenblatt violated, and unless
enjoined will continue to violate and cause violations of, Section 13(b)(5) of the Exchange Act
[15 U.S.C. § 78m(b)(5)], and Rule 13b2-1 thereunder [17 C.F.R. § 240.13b2-1].

SEVENTH CLAIM FOR RELIEF
Control Person Liability for Premier’s Violations of Section 10(b)
of the Exchange Act and Exchange Act Rule 10b-5
(Letcavage)

93. The Commission realleges and incorporates by reference each and every
allegation contained in paragraphs 1 through 73, above, as though fully set forth herein.

94. Between December 5, 2012 and at least April 15, 2014, Premier, directly or
indirectly, by use of the means or instruments of interstate commerce, or of the mails or the
facility of a national securities exchange, in connection with the purchase or sale of securities
and with knowledge or recklessness (a) employed devices schemes or artifices to defraud;

(b) made untrue statements of material fact or omitted to state material facts necessary to make
the statements made, in light of the circumstances under which they were made, not misleading;
and/or (c) engaged in acts practices or courses of business which operated or would operate as a
fraud or deceit upon any person.

95. By reason of the foregoing, Premier singly or in concert, directly or indirectly,
have violated, and unless enjoined will again violate, Section 10(b) of the Exchange Act [15
U.S.C. § 78j(b)] and Rule 10b-5 thereunder [l7 C.F.R. § 240.10b-5].

96. At all times relevant hereto, Letcavage was a controlling person of Premier for the
purposes of Section 20(a) of the Exchange Act [15 U.S.C. § 78t(a)].

97. Letcavage knowingly or recklessly engaged in fraudulent conduct that resulted in

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Premier’s violations of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5
thereunder [l7 C.F.R. § 240.10b-5].

98. By reason of the foregoing, Letcavage is liable as a controlling person pursuant to
Section 20(a) of the Exchange Act [15 U.S.C. § 78t(a)] for Premier’s violations of Section 10(b)

ofthe Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [l7 C.F.R. § 240.10b-5].

 

EIGHTH CLAIM FOR RELIEF
Control Person Liability for Premier’s Violations of Sections l3(b)(2)(A) and 13(b)(2)(B) of
the Exchange Act
(Letcavage)
99. The Commission realleges and incorporates by reference each and every

allegation contained in paragraphs l through 73, above, as though fully set forth herein.

100. Between December 5, 2012 and at least April 15, 2014, Premier violated Section
l3(b)(2)(A) of the Exchange Act by failing to make and keep books records and accounts
which, in reasonable detail, accurately and fairly reflected the transactions and dispositions of its
assets

101. Moreover, Premier lacked a system of internal accounting controls sufficient to
provide reasonable assurance that, among other things transactions were recorded as necessary
to permit the preparation of financial statements in conformity with GAAP, and thereby directly
violated Section 13(b)(2)(B) of the Exchange Act.

102. By reason of the foregoing, Premier violated, and unless enjoined will continue to
violate, Sections l3(b)(2)(A) and 13(b)(2)(B) of the Exchange Act [15 U.S.C. §§ 78m(b)(2)(A)
and 78m(b)(2)(B)].

103. At all times relevant hereto, Letcavage was a controlling person of Premier for the
purposes of Section 20(a) of the Exchange Act [15 U.S.C. § 78t(a)].

104. Letcavage knowingly or recklessly engaged in fraudulent conduct that resulted in

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Premier’s violations of Sections l3(b)(2)(A) and 13(b)(2)(B) of the Exchange Act [15 U.S.C. §§
78m(b)(2)(A) and 78m(b)(2)(B)].

105. By reason of the foregoing, Letcavage is liable as a controlling person pursuant to
Section 20(a) of the Exchange Act [15 U.S.C. § 78t(a)] for Premier’s violations of Sections
l3(b)(2)(A) and 13(b)(2)(B) of the Exchange Act [15 U.S.C. §§ 78m(b)(2)(A) and
78m(b)(2)(B)]~

NINTH CLAIM FOR RELIEF
Control Person Liability for Premier’s Violations of Section 13(a) of the Exchange Act and
Exchange Act Rules 13a-1, l3a-11, and 13a-13
(Letcavage)

106. The Commission realleges and incorporates by reference each and every
allegation contained in paragraphs l through 73, above, as though fiilly set forth herein.

107. Between December 5, 2012 and at least April 15, 2014, defendant Premier
violated, and unless enjoined will continue to violate, Section 13(a) of the Exchange Act [15
U.S.C. § 78m(a)] and Rules 13a-l and 13a-13 thereunder [l7 C.F.R. §§ 240.13a~1 and 240.13a-
13], by filing annual reports and quarterly reports that contained financial statements that
contained material misstatements as described above.

108. Between December 5, 2012 and at least April 15, 2014, defendant Premier also
violated, and unless enjoined will continue to violate, Section 13(a) of the Exchange Act [15
U.S.C. § 78m(a)] and Rule 13a-11 thereunder [l7 C.F.R. § 240.13a-11], by failing to timely file
accurate current reports on Form 8-K.

109. At all times relevant hereto, Letcavage was a controlling person of Premier for the
purposes of Section 20(a) of the Exchange Act [15 U.S.C. § 78t(a)].

110. Letcavage knowingly or recklessly engaged in fraudulent conduct that resulted in

Premier’s violations of Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules l3a-1,

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13a-11 and 13a-13 thereunder [l7 C.F.R. §§ 240.13a-l, 240.13a-11, 240.13a-l3].

l 1 l. By reason of the foregoing, Letcavage is liable as a controlling person pursuant to
Section 20(a) of the Exchange Act [15 U.S.C. § 78t(a)] for Premier’s violations of Section 13(a)
ofthe Exchange Act [15 U.S.C. § 78m(a)] and Rules 13a-1, 13a-11 and 13a-13 thereunder [17
C.F.R. §§ 240.13a-1, 240.13a-11, 240.13a-13].

TENTH CLAIM FOR RELIEF
Aiding and Abetting Liability for Premier’s Violations of Sections
l7(a)(2) and 17(a)(3) of the Securities Act
(Letcavage and Greenblatt)

112. The Commission realleges and incorporates by reference each and every
allegation contained in paragraphs 1 through 73, above, as though fully set forth herein.

113. Between December 5, 2012 and at least April 15, 2014, defendant Premier, in the
offer or sale of securities by the use of the means or instruments of transportation or
communication in interstate commerce or by use of the mails directly or indirectly, (a) obtained
money or property by means of untrue statements of material fact or omissions to state material
facts necessary in order to make the statements made, in the light of the circumstances under
which they were made, not misleading; (b) obtained money or property by means of untrue
statements of material fact, or has omitted, and is omitting, to state material facts necessary in
order to make statements made, in light of the circumstances under which they were made, not
misleading; and (c) engaged in transactions practices or courses of business which operated or
would operate as a fraud or deceit upon the purchasers of such securities By reason of the
conduct alleged above, Premier violated Section l7(a)(2) and (3) of the Securities Act [15 U.S.C.
§ 77q(a)]-

1 14. Letcavage and Greenblatt aided and abetted certain of Premier’s violations of

Sections l7(a)(2) and (3) of the Securities Act [15 U.S.C . § 77q(a)(2) and (3)].

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ELEVENTH CLAIM FOR RELIEF
Aiding and Abetting Liability for Premier’s Violations of
Sections l3(b)(2)(A) and 13(B)(2)(B) of the Exchange Act
(Letcavage and Greenblatt)

115. The Commission realleges and incorporates by reference each and every
allegation contained in paragraphs l through 73, above, as though fully set forth herein .

116. Premier violated Sections l3(b)(2)(A) and 13(b)(2)(B) of the Exchange Act [15
U.S.C. §§ 78m(b)(2)(A) and 78m(b)(2)(B)].

117. Letcavage and Greenblatt aided and abetted certain of Premier’s violations of
Sections l3(b)(2)(A) and 13(b)(2)(B) of the Exchange Act [15 U.S.C. § § 78m(b)(2)(A) and
78m(b)(2)(B)], pursuant to Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)].

TWELFTH CLAIM FOR RELIEF
Aiding and Abetting Liability for Premier’s Violations of Section 13(a) of the Exchange Act
and Exchange Act Rules 13a-1, 13a-11, and 13a-13
(Letcavage and Greenblatt)

118. The Commission realleges and incorporates by reference each and every
allegation contained in paragraphs 1 through 73, above, as though fully set forth herein.

119. Premier violated Section 13(a) of the Exchange Act [1 5 U.S.C. § 78m(a)] and
Rules 13a-1, 13a-l l, and 13a-13 thereunder [l7 C.F.R.§§ 240.13 a-l, 240.13a-11, and 240.13a-
13].

120. By virtue of the foregoing, Letcavage and Greenblatt aided and abetted certain of

Premier’s violations of Sections 13(a) of the Exchange Act [1 5 U.S.C. § 78m(a)] and Rules 13a-

l, 13a-1 1, and 13a-13 thereunder [l7 C.F.R.§§ 240.13 a-l, 240.13a-l l, and 240.13a-13].

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PRAYER FOR RELIEF

WHEREFORE, the Commission respectfully requests that the Court:

I.

Enter judgment in favor of the Commission finding that Premier, Letcavage, and
Greenblatt each violated the federal securities laws and Commission rules as alleged in this
Complaint;

II.

Permanently enjoin Premier, Letcavage, and Greenblatt from committing the violations
of the federal securities laws alleged against them in this Complaint, and permanently enjoin
Letcavage and Greenblatt from aiding and abetting or otherwise engaging in conduct that would
make them secondarin liable for the violations of the federal securities laws alleged as to them
in this Complaint;

III.

Order Premier, Letcavage, and Greenblatt to disgorge the ill-gotten gains received as a
result of the violations alleged in this Complaint, and ordering each of them to each pay
prejudgment interest thereon;

IV.
Order Premier, Letcavage, and Greenblatt to pay civil monetary penalties pursuant to

Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 2l(d)(3) of the Exchange

Act [15 u.s.C. § 78 u(d)(s)];

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V.

Order Letcavage to be barred from serving as an officer and director of a public company
pursuant to Securities Act Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)] and Section
21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)];

VI.

Order Letcavage to be barred from participating in any offering of penny stock pursuant
to Section 20(g) of the Securities Act [15 U.S.C. § 77t(g)] and Section 21(d)(6) of the Exchange
Act [15 U.S.C. § 7Su(d)(6)l; and

VlI.
Grant such other and further relief as this Court deems just and proper.
DEMAND F()R JURY TRIAL
The Commission hereby demands a trial by jury pursuant to Rule 38(b) of the Federal

Rules of Civil Procedure.

Dated: New York, NY
December 4, 2017

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